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                                UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON




DON−SALVADORE FRANCESCO                                        Case No.: 2:23−cv−00416−SI
PACHECO
   Plaintiff(s),

v.                                                             ORDER CONDITIONALLY
                                                               APPOINTING PRO BONO COUNSEL
JAMIE MILLER, et al.                                           FOR ALL PURPOSES
   Defendant(s).



    The Court hereby grants Don−Salvadore Francesco Pacheco's Motion to Appoint Counsel [3] and
conditionally appoints Jonathan Gersten as counsel of record for all purposes.

   Within 14 days of the date of this Order, the appointed attorney/law firm must file the Pro Bono
Appointment Response Form with the Court with the appropriate option checked.

     If representation is denied due to a conflict of interest or other specified reason, the appointment
will be terminated and the Court may appoint substitute counsel.

    Contact the Pro Bono Panel Administrator to be paired with a mentor attorney, to obtain a copy of
the Guide for Representing Prisoners, or for more information regarding reimbursement of
out−of−pocket expenses, procedures, and forms. Additional information can also be found on the Court's
website.


     DATED this 11th day of April, 2023                  /s/Michael H. Simon

                                                         Honorable Michael H. Simon
                                                         United States District Judge.
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                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON




DON−SALVADORE FRANCESCO                                    Case No.: 2:23−cv−00416−SI
PACHECO
   Plaintiff(s),

v.                                                         PRO BONO APPOINTMENT
                                                           RESPONSE FORM
JAMIE MILLER, et al.
   Defendant(s).



     In response to the Court's Order Appointing Pro Bono Counsel, I hereby certify that:

        Representation of Don−Salvadore Francesco Pacheco for all purposes is accepted. If
appropriate, a Substitution of Counsel will be filed to designate the responsible attorney continuing as
counsel of record.

         Termination of this appointment is requested based on the following conflict of interest:




        No conflict of interest exists. However, termination of this appointment is requested for the
following reason(s):




       I request a 14−day extension of time to review this case and respond to the Order Appointing
Pro Bono Counsel.




     DATED this                   day of
.



                                                              Signature


                                                              Printed Name and Oregon State Bar No.
